






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00502-CR


NO. 03-08-00503-CR


NO. 03-08-00504-CR







Corey Williams, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NOS. CR22033, CR22056, &amp; CR22081, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant Corey Williams was adjudged guilty by the district court after he pleaded
guilty to indictments accusing him of possessing less than one gram of phencyclidine
(CR22033),&nbsp;possessing more than one gram but less than four grams of methamphetamine
(CR22081), and forging a check (CR22056).  See Tex. Health &amp; Safety Code Ann. § 481.115
(West&nbsp;2003), Tex. Penal Code Ann. § 32.21 (West Supp. 2008).  The court assessed punishment in
each cause at ten years' imprisonment and ordered that the sentences run concurrently. (1)

Appellant's court-appointed attorney has filed a motion to withdraw in each appeal. 
The motions are supported by briefs concluding that the appeals are frivolous and without merit. 
The briefs meet the requirements of Anders v. California, 386 U.S. 738 (1967), by presenting a
professional evaluation of the records demonstrating why there are no arguable grounds to be
advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807
(Tex.&nbsp;Crim.&nbsp;App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State,
485&nbsp;S.W.2d&nbsp;553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
Appellant received a copy of counsel's briefs and was advised of his right to examine the appellate
records and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the records and counsel's briefs and agree that the appeals are
frivolous and without merit.  We find nothing in the records that might arguably support the appeals.
Counsel's motions to withdraw are granted.

The judgments of conviction are affirmed.



				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   February 10, 2009

Do Not Publish
1.        The sentences in cause numbers CR22033 and CR22056 were enhanced by two previous felony
convictions.  See Tex. Penal Code Ann. § 12.42(a)(2) (West Supp. 2008).  The sentence in cause
number CR22081 was enhanced by one previous felony conviction. See&nbsp;id.&nbsp;§&nbsp;12.42(a)(3).


